Jodi Arndt Labs

From: James A. Walcheske <jwalcheske@walcheskeluzi.com>
Sent: Friday, June 23, 2017 10:58 AM

To: Jodi Arndt Labs

Ce: James A. Walcheske; George Burnett

Subject: Re: Fast Matter

Sounds good.

 

     
  

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www walcheskeluzi.com
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On Fri, Jun 23, 2017 at 10:54 AM, Jodi Arndt Labs <jodi@lcojlaw.com> wrote:

Let’s go with 10:00 a.m. on Wednesday June 28'". We will plan to call your office at that time.

Thanks.

JODI ARNDT LABS

Attorney

Law Firm of Conway, Olejniczak & Jerry, S.C.
231 S. Adams Street | P.O. Box 23200
Green Bay, WI 54305

P: 920-437-0476 F: 920-437-2868

E: jodi@Icojlaw.com | Icojlaw.com

 

Case 1:16-cv-01637-WCG Filed 08/04/17 Page tora Document 21-5
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From: James A. Walcheske [mailto:jwalcheske@walcheskeluzi.com]

Sent: Friday, June 23, 2017 10:52 AM

To: Jodi Arndt Labs <jodi@Icojlaw.com>

Cc: James A. Walcheske <jwalcheske @walcheskeluzi.com>; George Burnett <GB@I!cojlaw.com>
Subject: Re: Fast Matter

| can do Wednesday anytime between 9:30 and 10:30.

   
 

James A. Walcheske

WALCHESKE/GLUZI

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On Fri, Jun 23, 2017 at 10:34 AM, Jodi Arndt Labs <jodi@|cojlaw.com> wrote:

Good Morning Jim,

We would be more than happy to discuss the status of the case with you. Unfortunately, Monday does not
work as I have to attend an enforcement conference in Spring Green that day. We can, however, make some
time on Wednesday or Thursday morning work. Please let me know if either morning will work on your
end. Thanks.

Case 1:16-cv-01637-WCG Filed 08/04/17 Page 2 of 4 Document 21-5
JOD! ARNDT LABS

Attorney

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From: James A. Walcheske [mailto:jwalcheske@walcheskeluzi.com]
Sent: Friday, June 23, 2017 9:34 AM

To: Jodi Arndt Labs <jodi@icojlaw.com>

Subject: Fast Matter

Jodi,

In light of the recent payments your client allegedly made to not only putative class members as
defined in Mr. Fast's Complaint, but also potentially other, not previously included positions, I'd like
to set a time for us to discuss the status of this case, including, but not necessarily limited to, who
received the checks; what the checks represented; who performed the calculations underlying the
check amounts; and whether you'd be willing to stipulate to stay this matter's deadlines pending our
joint assessment of where this case currently stands in light of those checks.

I'd like to do this on Monday, if possible. I'm generally available between 10:30 and 3:00 that day.

Case 1:16-cv-01637-WCG Filed 08/04/17 Page 3 o0f4 Document 21-5
Let me know. Thanks.

 
   
 

James A. Walcheske

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Case 1:16-cv-01637-WCG Filed 08/04/17 Page 4of4 Document 21-5
